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14
                                  UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                          OAKLAND DIVISION
17
      In Re                                                 Case No. 4:20-cv-05381-HSG (Lead Case)
18
      PG&E CORPORATION                                      (Reference withdrawn from Bankruptcy Case
19                                                          No. 19-30088, Adv. Proc. No. 20-03019 and
               v.                                           Adv. Proc. No. 19-03008)
20
      AECOM TECHNICAL SERVICES, INC.
                                                            (Consolidated with Case No. 3:20-cv-08463-
21                                                          EMC)
22
                                                            ORDER ON STIPULATED REQUEST
23                                                          TO MODIFY SCHEDULING ORDER

24

25            Pursuant to Civil L.R. 6-2, JH Kelly, LLC (“Kelly”), AECOM Technical Services, Inc.
26   (“AECOM”), and Pacific Gas and Electric Company (“PG&E”) (collectively, the “Parties”),
27   jointly seek an order of the Court to modify the Rule 26 Initial Disclosure deadline of Ed Staub
28
      ORDER TO MODIFY
      SCHEDULING ORDER                               -1-                   CASE NO.: 4:20-CV-05381-HSG

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 1   & Sons Petroleum Inc. (“Staub”) set forth in the Court’s January 29, 2021 Scheduling Order
 2   (“Scheduling Order”) (Dkt. No. 17).1 The Parties, through their respective counsel, stipulate as
 3   follows:
 4              WHEREAS, on January 29, 2021, the Court issued the Scheduling Order, which set out
 5   certain dates and deadlines for this matter, including the deadline of March 15, 2021 for Staub
 6   to submit its Initial Disclosures;
 7              WHEREAS on February 19, 2021, the Court issued its Order on Stipulated Request to
 8   Modify Scheduling Order that set deadlines of March 8, 2021 for AECOM to file an amended
 9   Counterclaim and an amended Answer, and March 29, 2021 for PG&E and Kelly to file
10   responsive pleadings to AECOM’s amended Counterclaims and/or amended Answer, as
11   applicable (Dkt. No. 35);
12              WHEREAS, in light of the amended deadline for PG&E and Kelly to file responsive
13   pleadings to AECOM’s amended Counterclaims, the Parties agree that Staub’s modified
14   deadline for the submission of its Rule 26 Initial Disclosures should be continued to April 12,
15   2021.
16              NOW THEREFORE, in consideration of the foregoing, the Parties, by and through their
17   counsel, hereby STIPULATE and AGREE as follows:
18              1.      The modified deadline for Ed Staub & Sons Petroleum Inc. to submit its Rule 26
19                      Initial Disclosures is April 12, 2021.
20              PURSUANT TO STIPULATION, IT IS SO ORDERED
21

22       Dated: 3/16/2021
23
                                                                    Honorable Haywood S. Gilliam, Jr.
24                                                                  U.S. District Judge for U.S. District Court,
                                                                    Northern District of California
25

26

27   1
         It is Staub’s position that Staub is not currently a party to this lawsuit. Kelly disputes that Staub is not
28               currently a party to this lawsuit and reserves its rights in this regard.

         ORDER TO MODIFY
         SCHEDULING ORDER                                     -2-                     CASE NO.: 4:20-CV-05381-HSG

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